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                                  UNITED STATES DISTRICT COURT

                                  SOUTHERN DISTRICT OF FLORIDA

                                           Case No.: 1:18-cv-24190

  WILLIAM O. FULLER, and

  MARTIN PINILLA, II,

                 Plaintiffs,

         v.

  JOE CAROLLO,

                 Defendant.

  ___________________________________/

   PLAINTIFFS’ AND DEFENDANT’S WITNESS LISTS PURSUANT TO THE COURT’S
            ORDER PROVIDING INSTRUCTIONS FOR TRIAL [DE 342]

         Plaintiffs William Fuller and Martin Pinilla, and Defendant, Joe Carollo, pursuant to the

  Court’s Order Providing Instructions for Trial [DE 342], dated March 10, 2023, hereby submit

  their Witness Lists. The lists below are arranged in the tentative order in which Plaintiffs and

  Defendant intend to call each witness. Plaintiffs and Defendant estimate that the trial will last 10-

  12 days.

  Plaintiffs’ Witness List:

         a) Emilio Gonzalez

                 a. Mr. Gonzalez is expected to testify regarding how Commissioner Carollo

                     weaponized code compliance against Plaintiffs and searched for ways the City

                     could administratively close their businesses.



                 b. Estimated time needed by Plaintiffs for direct examination: 60 minutes
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               c. Estimated time needed by Defendant for cross examination: 3 hours

        b) Joe Napoli

               a. Mr. Napoli is expected to testify, amongst other things, regarding

                   Commissioner Carollo's interactions with the City Manager's office and its

                   employees, the Commissioner's violations of the City of Miami Charter, the

                   Commissioner's commandeering of city employees for purposes of targeting

                   Plaintiffs' properties, and the inspections and investigations of Plaintiffs'

                   businesses by the City of Miami.

               b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

               c. Estimated time needed by Defendant for cross examination: 2 hours

        c) Ignacio Ortiz-Petit

               a. Mr. Ortiz-Petit is expected to testify, amongst other things, regarding

                   Commissioner Carollo's interactions with the City Manager's office and its

                   employees, the Commissioner's violations of the City of Miami Charter, the

                   Commissioner's commandeering of city employees for purposes of targeting

                   Plaintiffs' properties, and the inspections and investigations of Plaintiffs'

                   businesses by the City of Miami.

               b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

               c. Estimated time needed by Defendant for cross examination: 60 minutes

        d) Jorge Colina

               a. Mr. Colina is expected to testify regarding Carollo’s intimidation of City

                   employees and unlawful exercise of powers beyond the limits of Carollo’s




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                 legislative power as a city commissioner to intentionally cause harm to

                 Plaintiffs.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 45 minutes

        e) Ken Russell

              a. Mr. Russell is expected to testify regarding the proper role of a Commissioner,

                 Carollo’s targeting of Plaintiffs, and how the application of ordinances Carollo

                 introduced and passed targeted Plaintiffs.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 1.5 hours

        f) Steve Miro

              a. Mr. Miro is expected to testify about Carollo’s discovery of Plaintiffs’ support

                 for his opponent Alfie Leon and Carollo’s immediate and widespread targeting

                 of properties and businesses owned by or associated with Plaintiffs.

              b. Estimated time needed by Plaintiffs for direct examination: 60 minutes

              c. Estimated time needed by Defendant for cross examination: 3 hours

        g) Richie Blom

              a. Mr. Blom is expected to testify about his experiences as Carollo’s chief of staff,

                 his weekends spent researching Plaintiffs’ properties for Carollo, and his refusal

                 to sneak around Plaintiffs’ properties.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 2 hours

        h) Orlando Diez




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              a. Mr. Diez is expected to testify regarding Carollo’s intimidation and his

                  targeting of Plaintiffs’ properties during his time at the City.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 2 hours

        i) Daniel Figueredo

              a. Mr. Figueredo is expected to testify regarding his experience being targeted by

                  Carollo as a result of being Plaintiffs’ tenant.

              b. Estimated time needed by Plaintiffs for direct examination: 45minutes

              c. Estimated time needed by Defendant for cross examination: 30 minutes

        j) Rosa Romero

              a. Mrs. Romero is expected to testify regarding her experience being targeted by

                  Carollo as a result of being Plaintiffs’ tenant.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 30 minutes

        k) Daniel Rodriguez

              a. Mr. Rodriguez is expected to testify regarding his experience being targeted by

                  Carollo as a result of being Plaintiffs’ tenant.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 30 minutes

        l) Cecilia Rodriguez

              a. Mrs. Rodriguez is expected to testify regarding her experience being targeted

                  by Carollo as a result of being Plaintiffs’ tenant.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes




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              c. Estimated time needed by Defendant for cross examination: 30 minutes

        m) Alain Garcia

              a. Mr. Garcia is expected to testify about Carollo’s targeting of the valet lots that

                  he operates for one of Plaintiffs’ businesses.

              b. Estimated time needed by Plaintiffs for direct examination: 60 minutes

              c. Estimated time needed by Defendant for cross examination: 60 minutes

        n) Alejandro Del Bosque

              a. Mr. Del Bosque is expected to testify regarding Carollo’s retaliation of

                  Plaintiffs’ properties.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 45 minutes

        o) Darius Green

              a. Mr. Green is expected to testify regarding Carollo’s retaliation of Plaintiffs’

                  properties.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 30 minutes

        p) Matt Malone

              a. Mr. Malone is expected to testify regarding Carollo’s statement that he would

                  support Malone’s business anywhere in Little Havana so long as it was not in

                  any of Plaintiffs’ properties.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 30 minutes

        q) Eddie Cagnin




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              a. Mr. Cagnin is expected to testify regarding his knowledge about the targeting

                  of Plaintiffs’ properties.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 45 minutes

        r) Adele Valencia

              a. Ms. Valencia is expected to testify regarding her experience as Director of Code

                  for the City of Miami and her interactions with Carollo and Plaintiffs.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 90 minutes

        s) Michael Kunert

              a. Mr. Kunert is expected to testify regarding how Carollo used the Alcohol

                  Beverage and Tobacco unit to repeatedly investigate and raid Taquerias without

                  any cause.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

              c. Estimated time needed by Defendant for cross examination: 60 minutes

        t) Joe Carollo

              a. Mr. Carollo is expected to testify regarding all the facts at issue in this lawsuit.

              b. Estimated time needed by Plaintiffs for direct examination: 5 hours

              c. Estimated time needed by Defendant for cross examination: 4 hours

        u) Victoria Mendez

              a. Mrs. Mendez is expected to testify regarding her involvement in the targeting

                  of Plaintiffs’ businesses.

              b. Estimated time needed by Plaintiffs for direct examination: 45 minutes




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               c. Estimated time needed by Defendant for cross examination: 30 minutes

        v) Ricardo Franqui

               a. Mr. Franqui is expected to testify regarding his inspections of Plaintiffs’

                   properties during his time in the City’s Code Department.

               b. Estimated time needed by Plaintiffs for direct examination: 15 minutes

               c. Estimated time needed by Defendant for cross examination: 15 minutes

        w) Dr. Paul George

               a. Dr. George is expected to testify about Calle Ocho and Plaintiffs restoration

                   efforts in the area.

               b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

               c. Estimated time needed by Defendant for cross examination: 30 minutes

        x) Martin Pinilla

               a. Mr. Pinilla is expected to testify regarding his political speech, Carollo’s

                   targeting and retaliation towards him and his businesses and the damages he has

                   suffered as a result.

               b. Estimated time needed by Plaintiffs for direct examination: 3 hours

               c. Estimated time needed by Defendant for cross examination: 3 hours

        y) Bill Fuller

               a. Mr. Fuller is expected to testifyregarding his political speech, Carollo’s

                   targeting and retaliation towards him and his businesses and the damages he has

                   suffered as a result.

               b. Estimated time needed by Plaintiffs for direct examination: 5 hours

               c. Estimated time needed by Defendant for cross examination: 5 hours




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        z) Melissa Bernheim

               a. Mrs. Bernheim is expected to testify regarding Carollo’s targeting and

                  retaliation towards her husband, Bill Fuller, and their businesses and the

                  damages Fuller has suffered as a result.

               b. Estimated time needed by Plaintiffs for direct examination: 60 minutes

               c. Estimated time needed by Defendant for cross examination: 90 minutes

        aa) Art Acevedo

               a. Mr. Acevedo is expected to testify regarding his experience with Carollo and

                  Carollo’s targeting of Plaintiffs during his time as City of Miami Police Chief.

               b. Estimated time needed by Plaintiffs for direct examination: 45 minutes

               c. Estimated time needed by Defendant for cross examination: 60 minutes

        bb) Any witnesses included on Defendant’s Witness List.

        cc) Any Rebuttal witnesses.


  Defendant’s Witness List:

        a) Commissioner Joe Carollo

               a. Commissioner Carollo is expected to testify regarding the allegations in the

                  Second Amended Complaint.

               b. Estimated time needed by Defendant for direct examination: 5 hours

               c. Estimated time needed by Plaintiffs for cross examination: 1 hour

        b) Ace Marrero

               a. Mr. Marrero is expected to testify regarding the allegations in the Second

                  Amended Complaint.

               b. Estimated time needed by Defendant for direct examination: 4.5 hours


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               c. Estimated time needed by Plaintiffs for cross examination: 1 hour

        c) Rachel Dooley

               a. Ms. Dooley is expected to testify regarding the allegations in the Second

                  Amended Complaint.

               b. Estimated time needed by Defendant for direct examination: 4.5 hours

               c. Estimated time needed by Plaintiffs for cross examination: 1 hour

        d) Rene Diaz

               a. Mr. Diaz is expected to testify regarding the allegations in the Second Amended

                  Complaint.

               b. Estimated time needed by Defendant for direct examination: 2 hours

               c. Estimated time needed by Plaintiffs for cross examination: 45 minutes

        e) James Bernat

               a. Mr. Bernat is expected to testify regarding the allegations in the Second

                  Amended Complaint.

               b. Estimated time needed by Defendant for direct examination: 90 minutes

               c. Estimated time needed by Plaintiffs for cross examination: 1 hour

        f) Dennis Uriarte

               a. Mr. Uriarte is expected to testify regarding the allegations in the Second

                  Amended Complaint.

               b. Estimated time needed by Defendant for direct examination: 45 minutes

               c. Estimated time needed by Plaintiffs for cross examination: 15 minutes

        g) Daniel Sierra




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                a. Mr. Sierra is expected to testify regarding the allegations in the Second

                   Amended Complaint.

                b. Estimated time needed by Defendant for direct examination: 45 minutes

                c. Estimated time needed by Plaintiffs for cross examination: 15 minutes

         h) Yacmany Salvatierra

                a. Mr. Salvatierra is expected to testify regarding the allegations in the Second

                   Amended Complaint.

                b. Estimated time needed by Defendant for direct examination: 60 minutes

                c. Estimated time needed by Plaintiffs for cross examination: 15 minutes

         i) Humberto Escandon

                a. Mr. Escandon is expected to testify regarding the allegations in the Second

                   Amended Complaint.

                b. Estimated time needed by Defendant for direct examination: 60 minutes

                c. Estimated time needed by Plaintiffs for cross examination: 15 minutes

         j)   Dan Goldberg

                a. Mr. Goldberg is expected to testify regarding the allegations in the Second

                   Amended Complaint.

                b. Estimated time needed by Defendant for direct examination: 2 hours

                c. Estimated time needed by Plaintiffs for cross examination: 30 minutes

         k) Mary Lugo

                a. Ms. Lugo is expected to testify regarding the allegations in the Second

                   Amended Complaint.

                b. Estimated time needed by Defendant for direct examination: 45 minutes




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                c. Estimated time needed by Plaintiffs for cross examination: 30 minutes

         l) Daniel Alfonso

                a. Mr. Alfonso is expected to testify regarding the allegations in the Second

                    Amended Complaint.

                b. Estimated time needed by Defendant for direct examination: 30 minutes

                c. Estimated time needed by Plaintiffs for cross examination: 15 minutes

         m) Jose Suarez

                a. Mr. Suarez is expected to testify regarding the allegations in the Second

                    Amended Complaint.

                b. Estimated time needed by Defendant for direct examination: 30 minutes

                c. Estimated time needed by Plaintiffs for cross examination: 15 minutes

         n) Will Ortiz

                a. Mr. Ortiz is expected to testify regarding the allegations in the Second Amended

                    Complaint.

                b. Estimated time needed by Defendant for direct examination: 30 minutes

                c. Estimated time needed by Plaintiffs for cross examination: 15 minutes

         o) Art Noriega

                a. Mr. Noriega is expected to testify regarding the allegations in the Second

                    Amended Complaint.

                b. Estimated time needed by Defendant for direct examination: 2 hours

                c. Estimated time needed by Plaintiffs for cross examination: 90 minutes

         p) Any witnesses included on Plaintiffs’ Witness List.

         q) Any witnesses to respond to Plaintiffs’ witnesses.




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          r) Any witnesses to respond to Plaintiffs’ damages.

          Defendant asserts the following objections to Plaintiffs’ trial witnesses:

          Defendant objects to Michael Kunert testifying as he was never identified by Plaintiffs as

   a Trial Witness until the Pretrial Stipulation filed on March 3, 2023 [DE 332], months after the

   close of discovery and a month before the trial.

          Defendant objects to Melissa Bernheim testifying as she was never identified by Plaintiffs

   as a Trial Witness until the Pretrial Stipulation filed on March 3, 2023 [DE 332], months after the

   close of discovery and a month before the trial.

          Defendant objects to Matt Malone testifying as he has never been identified by Plaintiffs

   as a Trial Witness. The first time Mr. Malone was listed by Plaintiffs as a possible trial witness is

   after hours on March 28, 2023 when Plaintiffs’ counsel emailed a draft of this list to Defendant’s

   counsel. The first time Plaintiffs identified Mr. Malone as a person with knowledge was in their

   Second Amended Rule 26(g) Initial Disclosures served on December 23, 2022, months after the

   close of discovery.

          Defendant objects to Dr. Paul George testifying as an expert to any expert opinion rather

   than from his own personal knowledge of any facts regarding this case.

          Defendant asserts Mr. Rodriguez and Mrs. Rodriguez’s testimony is cumulative.

   Defendant asserts Mr. Figueredo and Ms. Romero’s testimony is cumulative.



   Dated: March 30, 2023

                                                           Respectfully submitted,

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                                                      By: /s/ Benedict P. Kuehne
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                                                      And

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                                  CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that a true and correct copy of the forgoing was served via

   CM/ECF on counsel of record of in this action on this 30th day of March, 2023.

                                              /s/ Jeff Gutchess
                                              Jeffrey W. Gutchess Esq.




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